                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF IOWA


JENNIFER S. JENKINS
                                                       CIVIL CASE No. 1:11-31-LRR
     Plaintiff,

v.
                                                                   ANSWER
MEDICAL LABORATORIES OF
EASTERN IOWA, INC.

     Defendant.


        Medical Laboratories of Eastern Iowa, Inc., Defendant, for its Answer to

Plaintiff’s Petition at Law states as follows:


                            PARTIES, JURISDICTION, & VENUE

        1.        Medical Laboratories of Eastern Iowa, Inc., (“MedLabs”) admits the

allegations of paragraph 1.

        2.        MedLabs admits the allegations of paragraph 2.

        3.        MedLabs admits the allegations of paragraph 3 and, further, admits that

venue is proper before the United States District Court for the Northern District of

Iowa, Cedar Rapids Division, on the basis as asserted in the Petition for Removal.

        4.        MedLabs, lacking sufficient information with which to answer same,

denies the allegations of paragraph 4.

        5.        MedLabs, lacking sufficient information with which to answer same,

denies the allegations of paragraph 5.




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                              FACTUAL ALLEGATIONS

       6.     MedLabs admits that Plaintiff has been employed by MedLabs. Medlabs

denies all other allegations of paragraph 6.

       7.     MedLabs admits that Plaintiff was a medical lab technician and that a

portion of her job responsibilities involve drawing blood from patients at the clinic.

MedLabs denies all other allegations of paragraph 7.

       8.     MedLabs denies the allegations of paragraph 8.

       9.     MedLabs denies the allegations of paragraph 9.

       10.    MedLabs denies the allegations of paragraph 10.

       11.    MedLabs denies the allegations of paragraph 11.

       12.    MedLabs denies the allegations of paragraph 12.

       13.    MedLabs denies the allegations of paragraph 13.

       14.    MedLabs denies the allegations of paragraph 14.

       15.    MedLabs denies the allegations of paragraph 15.

       16.    MedLabs denies the allegations of paragraph 16.

       17.    MedLabs denies the allegations of paragraph 17.

       18.    MedLabs denies the allegations of paragraph 18.

       19.    MedLabs denies the allegations of paragraph 19.

       20.    MedLabs denies the allegations of paragraph 20.




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                                     COUNT 1
                            DISABILITY DISCRIMINATION

       21.    MedLabs denies the allegations of paragraph 21.

       22.    MedLabs denies the allegations of paragraph 22.

       23.    MedLabs denies the allegations of paragraph 23.

       24.    MedLabs denies the allegations of paragraph 24.

       25.    MedLabs denies the allegations of paragraph 25.

       26.    MedLabs denies the allegations of paragraph 26.


                    OTHER MATTERS/AFFIRMATIVE DEFENSES

       I.     Plaintiff is not disabled, nor is perceived as being disabled, as said terms

are defined either under the Iowa Civil Rights Act or the American with Disabilities

Act.

       II.    Plaintiff fails to state a claim upon which relief may be granted.


                                          RELIEF

       WHEREFORE, Medical Laboratories of Eastern Iowa, Inc., Defendant, prays the

Court Order Judgment finding against and denying all relief to Plaintiff and, further,

assessing all costs associated herewith to Plaintiff.




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                                            Respectfully submitted:



Date: March 14, 2011                        /s/ Glenn Johnson
                                            GLENN JOHNSON (AT0003856)
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                                            ATTORNEY FOR DEFENDANT
                                            MEDICAL LABORATORIES OF EASTERN
                                            IOWA, INC.


Copy to:
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1921 51st Street NE
Cedar Rapids, IA 52402

ATTORNEY FOR PLAINTIFF



                                     CERTIFICATE OF SERVICE

            The undersigned hereby certifies that a copy of this document was served
            upon counsel of record for each party to the action in compliance with FRCP
            5 on March 14, 2011 by:

            [ x)] Electronically via ECF for ECF registrants
            [ ] U.S. Mail
            [ ] Fax
            [ ] Fed Ex
            [ ] Hand Delivered
            [ ] other

            /s/ Glenn Johnson


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